 Case 23-00057-mdc         Doc 3     Filed 08/22/23 Entered 08/22/23 21:55:40           Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re:                                                 Chapter 11

STREAM TV NETWORKS, INC. and                           Case No.: 23-10763 (MDC)
TECHNOVATIVE MEDIA, INC.,
                                                       Jointly Administered Chapter 11
                       Debtors.

In re:

STREAM TV NETWORKS, INC., et al.,                      Adversary No.: 23-00057-mdc
              Plaintiffs,

v.

SHADRON L SASTNEY, et al.,
               Defendants.


              CERTIFICATE OF SERVICE RE SUMMONS AND COMPLAINT

         I, Tinamarie Feil, state as follows:

         1.     I am over eighteen years of age and I believe the statements contained herein are

 true based on my personal knowledge. My business address is c/o BMC Group, Inc., 3732 West

 120th Street, Hawthorne, California 90250.

         2.     On August 21, 2023, at the direction of Lewis Brisbois Bisgaard & Smith LLP,

 counsel to the Debtors/Plaintiffs, copies of the above referenced documents were served on the

 U.S. based parties listed on the attached Exhibit A via the modes of service indicated therein:

         I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

         Executed on the 22nd day of August 2023.



                                                       Tinamarie Feil


                                                                                           Page 1 of 2
             Case 23-00057-mdc             Doc 3     Filed 08/22/23 Entered 08/22/23 21:55:40                     Desc Main
Stream TV Networks, Inc. et al v. STASTNEY et al     Document      Page 2 of 2
Adv. 23‐00057 (Main case 23‐10763)
EXHIBIT A


                                                                                           Mode of         Certified Tracking No.
Job ID Name and Address of Served Party
                                                                                           Service
10509 Asaf Gola, 226 East 70th Street, Apt. 4E, New York, NY 10021                         Certified/RRR
                                                                                                           94147112062030065454 17
                                                                                           & First Class
10509 Hawk Investment Holdings Ltd.,, Aaron S. Rothman, as Collateral Agent, 300 S. Tryon Certified/RRR
                                                                                                           94147112062030065956 34
      St., Ste. 1000, Charlotte, NC 28202                                                  & First Class
10509 K&L GATES LLP, Steven L. Caponi; Megan E. O’Connor, (RE: Hawk Investment             Certified/RRR
                                                                                                           94147112062030065949 89
      Holdings Ltd.), 600 King Street, Suite 901, Wilmington, DE 19801                     & First Class
10509 K&L Gates LLP, Thomas A. Warns, (RE: Hawk Investment Holdings Ltd), 599 Lexington Certified/RRR
                                                                                                           94147112062030065975 39
      Avenue, New York, NY 10022                                                           & First Class
10509 QUARLES & BRADY LLP, Catherine Guastello Allen, Esq., (RE: SLS Holdings VI, LLC),    Certified/RRR
                                                                                                           94147112062030065460 32
      1701 Pennsylvania Avenue NW, Suite 700, Washington, DC 20006                         & First Class
10509 QUARLES & BRADY LLP, Sargina Desargones, Esq., (RE: SLS Holdings VI, LLC), One       Certified/RRR
                                                                                                           94147112062030065714 61
      Renaissance Square, Two North Central Avenue Suite 600, Phoenix, AZ 85004            & First Class
10509 ROBINSON & COLE LLP, D L Wright;K M Fix;R M Messina, (RE: SLS Holdings VI, LLC), Certified/RRR
                                                                                                           94147112062030065978 36
      1650 Market Street, Suite 3030, Philadelphia, PA 19103                               & First Class
10509 SeeCubic Inc, Skadden,Arps,Slate,Meagher&Flom LLP, 500 Boylston St, Boston, MA Certified/RRR
                                                                                                           94147112062030065448 61
      02116                                                                                & First Class
10509 SeeCubic Inc., Shadron Stastney, CEO, (RE: SeeCubic Inc), 667 Madison Ave., Floors 4 Certified/RRR
                                                                                                           94147112062030065926 57
      & 5, New York, NY 10055                                                              & First Class
10509 Shadron Stastney, 392 Taylors Mill Road, Marlboro, NJ 07746‐2474                     Certified/RRR
                                                                                                           94147112062030065159 08
                                                                                           & First Class
10509 Skadden,Arps,Slate,Meagher&Flom LLP, James J. Mazza, Jr;J M Winerman, (RE:           Certified/RRR
                                                                                                           94147112062030065906 08
      SeeCubic, Inc), Rebecca L. Ritchie, 155 N. Wacker Drive, Chicago, IL 60606‐1720      & First Class
10509 Skadden,Arps,Slate,Meagher&Flom LLP, Joseph O. Larkin, Esq., (RE: SeeCubic, Inc),    Certified/RRR
                                                                                                           94147112062030065776 09
      One Rodney Square, 920 N. King St, Wilmington, DE 19801                              & First Class
10509 SLS Holdings VI, LLC, Brittany S. Ogden, Quarles & Brady LLP, 33 East Main Street,   Certified/RRR
                                                                                                           94147112062030065988 02
      Suite 900, Madison, WI 53703                                                         & First Class




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